Case 2:23-cv-06188-JMW Document 105 Filed 11/20/23 Page 1 of 2 PageID #: 2325



 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 SUPERB MOTORS INC., TEAM AUTO SALES LLC,                                  Case No.:
 ROBERT ANTHONY URRUTIA, 189 SUNRISE HWY                                   2:23-cv-6188 (JMW)
 AUTO LLC, NORTHSHORE MOTOR LEASING, LLC,
 BRIAN CHABRIER, individually and derivatively as a                        RULE 7.1
 member of NORTHSHORE MOTOR LEASING, LLC,                                  DISCLOSURE
 JOSHUA AARONSON, individually and derivatively as                         STATEMENT
 a member of 189 SUNRISE HWY AUTO, LLC, JORY
 BARON, 1581 HYLAN BLVD AUTO LLC, 1580 HYLAN
 BLVD AUTO LLC, 1591 HYLAN BLVD AUTO LLC,
 1632 HYLAN BLVD AUTO LLC, 1239 HYLAN BLVD
 AUTO LLC, 2519 HYLAN BLVD AUTO LLC, 76 FISK
 STREET REALTY LLC, 446 ROUTE 23 AUTO LLC and
 ISLAND AUTO MANAGEMENT, LLC,

                                           Plaintiffs,

         -against-

 ANTHONY DEO, SARAH DEO, HARRY
 THOMASSON, DWIGHT BLANKENSHIP, MARC
 MERCKLING, MICHAEL LAURIE, THOMAS JONES,
 CPA, CAR BUYERS NYC INC., GOLD COAST CARS
 OF SYOSSET LLC, GOLD COAST CARS OF SUNRISE
 LLC, GOLD COAST MOTORS AUTOMOTIVE GROUP
 LLC, GOLD COAST MOTORS OF LIC LLC, GOLD
 COAST MOTORS OF ROSLYN LLC, GOLD COAST
 MOTORS OF SMITHTOWN LLC, UEA PREMIER
 MOTORS CORP., DLA CAPITAL PARTNERS INC.,
 JONES, LITTLE & CO., CPA’S LLP, FLUSHING BANK,
 and LIBERTAS FUNDING LLC,

                                            Defendants.
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 CORPORATE DISCLOSURE STATEMENT FOR JONES, LITTLE & CO., CPAs LLP

       Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, defendant Jones, Little & Co.,

CPAs, LLP submits the following Corporate Disclosure Statement: No publicly held corporation

owns 10% or more of its stock.

Dated: Woodbury, New York
       November 20, 2023
Case 2:23-cv-06188-JMW Document 105 Filed 11/20/23 Page 2 of 2 PageID #: 2326



                                            MILBER MAKRIS PLOUSADIS
                                             & SEIDEN, LLP


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                                            JONES, LITTLE & CO., CPAs LLP
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TO:   All counsel of record (via ECF)




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